Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 1 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 2 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 3 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 4 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 5 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 6 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 7 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 8 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 9 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 10 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 11 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 12 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 13 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 14 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 15 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 16 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 17 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 18 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 19 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 20 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 21 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 22 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 23 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 24 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 25 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 26 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 27 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 28 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 29 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 30 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 31 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 32 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 33 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 34 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 35 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 36 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 37 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 38 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 39 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 40 of 41
Case 1:16-cv-12033-JGD Document 72 Filed 08/02/18 Page 41 of 41
